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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

BRANDON SHANE CRIDER,                    )
individually,                            )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )    Case No._______________
                                         )
SOUTHERN CORNERSTONE,                    )
INC.,                                    )
a foreign corporation,                   )
                                         )
     Defendant.                          )
______________________________

                                  COMPLAINT

       Plaintiff BRANDON SHANE CRIDER (“CRIDER” or “Plaintiff”) hereby

sues Defendant, SOUTHERN CORNERSTONE, INC., (“Defendant”) pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

       1.    This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.
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§ 12181 et seq., based upon SOUTHERN CORNERSTONE, INC.’s, failure to

remove physical barriers to equal access and violations of Title III of the ADA.

       2.     Venue is properly located in the Northern District of Texas pursuant to

28 U.S.C. § 1391(b) because venue lies in the judicial district of the property situs

or the judicial district in which a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred. The Defendant’s property is located in and does

business within this judicial district and all events giving rise to this lawsuit occurred

in this judicial district.

       3.     Plaintiff, BRANDON SHANE CRIDER, is and has been at all times

relevant to the instant matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make areas that

the he frequents more accessible for Plaintiff and others; and pledges to do whatever
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is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.     Defendant, SOUTHERN CORNERSTONE, INC., is a foreign

corporation registered to do business and, in fact, is conducting business in the State

of Texas and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.     In July of 2020, Plaintiff attempted to but was deterred from

patronizing, and/or gaining equal access as a disabled patron, to the RaceTrac gas

station located at 702 N. Belt Line Road, Grand Prairie, Texas 75050 (“Subject

Facility”, “Subject Property”).

      10. SOUTHERN CORNERSTONE, INC., is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the RaceTrac and its attendant facilities, including vehicular

parking and exterior paths of travel within the site identified by the Dallas County

Property Appraiser’s parcel identification number 281899000A0010000. (“Subject

Facility”, “Subject Property”).

      11.    Plaintiff resides within fifteen (15) miles of the Subject Property.
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      12.    Plaintiff has travelled in the area of the Subject Property and is often in

that area for Advocacy Purposes.

      13.    Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, SOUTHERN CORNERSTONE, INC., is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Subject

Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Subject Property at least once before as a patron

and advocate for the disabled. Plaintiff intends on revisiting the Subject Property

within six months of the filing of this Complaint or sooner, as soon as the barriers to

access detailed in this Complaint are removed. The purpose of the revisit is to be a

regular patron, to determine if and when the Subject Property is made accessible,

and to maintain standing for this lawsuit for Advocacy Purposes.

      15.    Plaintiff intends on revisiting the Subject Property as a regular patron

to enjoy the same experiences, goods, and services available to Defendant’s non-

disabled patrons as well as for Advocacy Purposes, but does not intend to continue

to repeatedly re-expose himself to the ongoing barriers to equal access and engage

in the futile gesture of attempting to patronize the Subject Property, a business of
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public accommodation known to Plaintiff to have numerous and continuing barriers

to equal access for wheelchair users.

      16.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      18.    The Subject Property is a public accommodation and service

establishment.

      19.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      20.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer
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employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     21.     The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     22.     Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to equal access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,
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privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     24.     Defendant, SOUTHERN CORNERSTONE, INC., has discriminated

against Plaintiff (and others with disabilities) by denying him access to, and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     25.     Defendant, SOUTHERN CORNERSTONE, INC., will continue to

discriminate against Plaintiff and others with disabilities unless and until

Defendant, SOUTHERN CORNERSTONE, INC., is compelled to remove all

physical barriers that exist at the Subject Property, including those specifically set

forth herein, and make the Subject Property accessible to and usable by Plaintiff

and other persons with disabilities.

     26.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the Subject Property and the

full and equal enjoyment of the goods, services, facilities, privileges, advantages

and accommodations of the Subject Property include, but are not limited to:
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                       ACCESSIBLE PARKING
        a. There is no van accessible parking present, identified
           as such with upright “Van Accessible” signage in
           violation of Section 4.6 of the 1991 ADAAG and
           Sections 208, 302 and 502 of the 2010 ADAAG. This
           violation made it dangerous for Plaintiff to utilize the
           parking facility at the Subject Property and caused
           Plaintiff undue upset and loss of opportunity.

                        ACCESSIBLE ROUTES

        b. No accessible route connects an accessible fuel pump
           to the accessible entrance at the Subject Facility.
           Violation: There are accessible elements at the Subject
           Property the route to and from which is inaccessible in
           violation of Section 4.3.2 of the 1991 ADAAG and
           Section 206.2.2 of the 2010 ADAAG. This violation
           prevented access to the plaintiff equal to that of
           Defendant’s able-bodied customers causing Plaintiff
           undue upset and loss of opportunity.

        c. No accessible route connects the accessible entrance to
           the exterior dining area at the Subject Facility.
           Violation: There are accessible elements at the Subject
           Property the route to and from which is inaccessible in
           violation of Section 4.3.2 of the 1991 ADAAG and
           Section 206.2.2 of the 2010 ADAAG. This violation
           prevented access to the plaintiff equal to that of
           Defendant’s able-bodied customers causing Plaintiff
           undue upset and loss of opportunity.

        d. No accessible route connects the accessible entrance to
           the exterior bagged ice cooler at the Subject Facility.
           Violation: There are accessible elements at the facility
           the route to and from which is inaccessible in violation
           of Section 4.3.2 of the 1991 ADAAG and Section
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           206.2.2 of the 2010 ADAAG. This violation prevented
           access to the plaintiff equal to that of Defendant’s able-
           bodied customers causing Plaintiff undue upset and
           loss of opportunity.

        e. The ramp to the exterior dining area (the only means of
           access to this area for wheelchair users) has a run which
           exceeds the maximum slope requirement (8.33%) set
           forth in Section 4.7.2 of the 1991 ADAAG and Section
           406.1 of the 2010 ADAAG. This violation prevented
           safe access to the exterior dining area and caused
           Plaintiff undue upset and loss of opportunity.

                ACCESS TO GOODS AND SERVICES
                           (Exterior)

        f. The operable parts of the fuel dispensers at the Subject
           Property are too high for a wheelchair user to reach.
           Violation: The operable parts of the fuel dispensers
           exceed the minimum high reach range for dispensers
           installed on existing curbs which is 54 inches
           maximum measured from the surface of the vehicular
           way where the dispensers are located in violation of
           Section 4.2.6 of the 1991 ADAAG and Section 308 of
           the 2010 ADAAG. This violation prevented equal
           access to the Plaintiff and in so doing caused Plaintiff
           undue upset and loss of opportunity.

        g. The exterior bagged ice cooler does not have enough
           maneuvering clearance for a wheelchair user to gain
           access to the cooler’s outward swinging doors.
           Violation: There is not enough unobstructed clear
           ground space for forward or side reach access to the
           bagged ice cooler doors in violation of Sections 4.2.5
           and/or 4.2.6 of the 1991 ADAAG and Section 306 of
           the 2010 ADAAG. This violation made it impossible
           for Plaintiff to access the bagged ice cooler and in so
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            doing made plaintiff feel isolated and separate from
            Defendant’s able-bodied patrons and suffer undue
            upset and loss of opportunity.

                 ACCESS TO GOODS AND SERVICES
                            (Interior)

         h. The self-serve tableware, cups, straws, condiments,
            and/or drink dispensers are positioned too high for
            wheelchairs users to reach. Violation: The self-serve
            tableware, dishware, cups, straws, condiments, food
            and/or operable parts of the drink dispensers exceed the
            maximum allowable height for a vertical (side) reach
            in violation of Section 5.2 of the 1991 ADAAG and
            Sections 308.3.2 and 904.5.1 of the 2010 ADAAG.
            These accessible features are not being maintained by
            Defendant in violation of 28 CFR § 36.211. These
            violations prevented Plaintiff’s access to these items
            equal to that of Defendant’s able-bodied customers and
            caused Plaintiff undue upset and loss of opportunity.

                      MAINTENANCE PRACTICES

         i. Defendant has a practice of failing to maintain the
            accessible features of the facility, creating barriers to
            access for the Plaintiff, as set forth herein, in violation
            of 28 CFR § 36.211. This practice prevented access to
            the plaintiff equal to that of Defendant’s able-bodied
            customers causing Plaintiff loss of opportunity,
            anxiety, humiliation and/or embarrassment.


         j. Defendant has a practice of failing to maintain the
            accessible elements at the Subject Facility by
            neglecting its continuing duty to review, inspect, and
            discover transient accessible elements which by the
            nature of their design or placement, frequency of usage,
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               exposure to weather and/or other factors, are prone to
               shift from compliant to noncompliant so that said
               elements may be discovered and remediated.
               Defendant failed and continues to fail to alter its
               inadequate maintenance practices to prevent future
               recurrence of noncompliance with dynamic accessible
               elements at the Subject Facility in violation of 28 CFR
               § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
               These violations, as set forth hereinabove, made it
               impossible for Plaintiff to experience the same access
               to the goods, services, facilities, privileges, advantages
               and accommodations of the Subject Facility as
               Defendant’s able-bodied patrons and caused Plaintiff
               loss of opportunity, anxiety, embarrassment and/or
               humiliation.

            k. Defendant has failed to modify its discriminatory
               maintenance practices to ensure that, pursuant to its
               continuing duty under the ADA, the Subject Property
               remains readily accessible to and usable by disabled
               individuals, including Plaintiff, as set forth herein, in
               violation of 28 CFR § 36.302 and 36.211. This failure
               by Defendant prevented access to the plaintiff equal to
               that of Defendant’s able-bodied customers causing
               Plaintiff loss of opportunity, anxiety, humiliation
               and/or embarrassment.

      27.    The discriminatory violations described above are not an exhaustive

list of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the Subject

Property’s ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by
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Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, he has

actual notice that the defendant does not intend to comply with the ADA.

      28.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of their design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      29.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      30.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the
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2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      31.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      32.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      33.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      34.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      35.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the
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necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      36.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      37.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.
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      38.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, SOUTHERN CORNERSTONE, INC., is required to

remove the physical barriers, dangerous conditions and ADA violations that exist at

the Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

      39.    Plaintiff’s requested relief serves the public interest.

      40.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, SOUTHERN CORNERSTONE, INC.,

pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied

full and equal access to the subject premises, as provided by the ADA unless the

injunctive relief requested herein is granted.

      41.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:
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   A.    That the Court find Defendant, SOUTHERN
         CORNERSTONE, INC., in violation of the ADA and
         ADAAG;

   B.    That the Court enter an Order requiring Defendant,
         SOUTHERN CORNERSTONE, INC., to (i) remove the
         physical barriers to access and (ii) alter the Subject
         Property to make the subject property readily accessible to
         and useable by individuals with disabilities to the full
         extent required by Title III of the ADA;

   C.    That the Court enter an Order directing Defendant,
         pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
         to maintain its accessible features and equipment so that
         the facility remains accessible to and useable by
         individuals with disabilities to the full extent required by
         Title III of the ADA;

   D.    That the Court enter an Order directing Defendant to
         implement and carry out effective policies, practices, and
         procedures to maintain the accessible features and
         equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
         §36.211.

   E.    That the Court enter an Order directing Defendant to
         evaluate and neutralize its policies and procedures towards
         persons with disabilities for such reasonable time so as to
         allow them to undertake and complete corrective
         procedures;

   F.    An award of attorneys’ fees, costs (including expert fees),
         and litigation expenses pursuant to 42 U.S.C. § 12205;

   G.    An award of interest upon the original sums of said award
         of attorney’s fees, costs (including expert fees), and other
         expenses of suit; and

   H.    Such other relief as the Court deems just and proper,
         and/or is allowable under Title III of the Americans with
         Disabilities Act.
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      Dated this the _____ day of _____________________, 2020.

                               Respectfully submitted,

                               By: __________________________
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